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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:08CR473
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                     ORDER
                                            )
TODD CHARLES MATTHEWS,                      )
                                            )
             Defendant.                     )


      This matter is before the Court on the Defendant’s motion to extend his self

surrender date (Filing No. 136).

      IT IS ORDERED:

      1.     The Defendant’s motion to extend the Defendant’s self surrender date (Filing

             No. 136) is granted;

      2.     The Defendant shall report no later than 2:00 p.m. on Monday, November

             23, 2009, to the institution designated by the U.S. Bureau of Prisons; and

      3.     The Clerk shall deliver a certified copy of this Order to the U.S. Marshal for

             this district.

      DATED this 4th day of September, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
